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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 In Re Flint Water Cases,         Case No. 5:16-cv-10444-JEL-MKM
                                  (consolidated)

                                  Hon. Judith E. Levy


                   MOTION FOR WITHDRAWAL OF COUNSEL

       Michael R. Williams (“Withdrawing Counsel”) respectfully requests this

 Court enter an Order granting him permission to withdraw as counsel for

 Defendants Veolia North America, LLC, Veolia North America, Inc., and Veolia

 Water North America Operating Services, LLC, effective immediately.           As

 grounds for this motion, Withdrawing Counsel states as follows:

       1. Withdrawing Counsel entered an appearance in this case on October 21,

          2016, on Defendants’ behalf.

       2. Withdrawing Counsel is leaving the firm and will no longer be associated

          with the firm of Bush Seyferth, PLLC.

       3. Defendants will continue to be represented by Cheryl Bush of Bush

          Seyferth PLLC, as well as attorneys from Campbell Conroy O’Neil, PC.

       4. This withdrawal will not prejudice Plaintiffs.

       WHEREFORE, Withdrawing Counsel respectfully requests that this Court

 grant him permission to withdraw as counsel for Defendants.
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                                   Respectfully submitted,
                                   BUSH SEYFERTH PLLC

                                   By: /s/ Michael R. Williams
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 Dated: August 10, 2021             williams@bsplaw.com

                                     Attorneys for Defendants Veolia North
                                     America, LLC, Veolia North America, Inc.,
                                     and Veolia Water North America Operating
                                     Services, LLC




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